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                              UNITED STATES DISTRICT COURT
                                 DISTRICT OF NEW JERSEY

UNITED STATES OF AMERICA                       :       Crim. No. 08-327(SRC)
                                               :
                                               :
               v.                              :
                                               :
MARTIN TACCETTA                                :       ORDER


       This matter having come before the Court by way of motion of defendant Martin Tacetta

to rescind his bail and release the property that secured the bail;

       and the Court being advised that the defendant has been remanded to serve his state

prison term;

       IT IS THEREFORE ON THIS 19th day of October, 2009

       ORDERED that the motion to rescind his bail [Docket No. 316] is granted and the

conditions of release are revoked;

       IT IS FURTHER ORDERED that the U.S. Marshal shall lodge a detainer with the state

authorities; and

       IT IS FURTHER ORDERED that once the detainer is lodged, the United States Attorney

shall facilitate the release of the property that had been posted to secure the defendant’s release.




                                               s/Patty Shwartz
                                               UNITED STATES MAGISTRATE JUDGE
